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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                      4:15CR3114

        vs.
                                                                            ORDER
YULIO CERVINO-HERNANDEZ, AND
ALEXANDER CASTELLANO-BENITEZ,

                         Defendants.

        Defendant Castellano-Benitez has moved to continue the trial currently set for May 31, 2016.
(Filing No. 72). As explained in the motion, the defendant is awaiting additional discovery from the
government and needs to review that discovery before trial. The motion to continue is unopposed.
Based on the showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

   IT IS ORDERED:
   1)         Defendant Castellano-Benitez’s motion to continue, (filing no. 72), is granted.
   2)         As to both defendants, the trial of this case is set to commence before the Honorable John
              M. Gerrard, United States District Judge, in Courtroom 1, United States Courthouse,
              Lincoln, Nebraska, at 9:00 a.m. on July 11, 2016, or as soon thereafter as the case may be
              called, for a duration of three (3) trial days. Jury selection will be held at commencement of
              trial.
   3)         Based upon the showing set forth in Castellano-Benitez’s motion and the representations of
              counsel, the Court further finds that the ends of justice will be served by continuing the trial;
              and that the purposes served by continuing the trial date in this case outweigh the interest of
              the defendant and the public in a speedy trial. Accordingly,
              a.      As to both defendants, the additional time arising as a result of the granting of the
                      motion, the time between today’s date and July 11, 2016, shall be deemed
                      excludable time in any computation of time under the requirements of the Speedy
                      Trial Act, because although counsel have been duly diligent, additional time is
                      needed to adequately prepare this case for trial and failing to grant additional time
                      might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).
              b.      Failing to timely file an objection to this order as provided in the local rules of this
                      court will be deemed a waiver of any right to later claim the time should not have
                      been excluded under the Speedy Trial Act.

                   May 3, 2016.
                                                         BY THE COURT:
                                                         s/ Cheryl R. Zwart
                                                         United States Magistrate Judge
